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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   In Re:                                           : Bankruptcy No. 18-10161-amc
       Nicholas C. Cosmo                            : Chapter 13
                           Debtor                   :
   The Bank of New York Mellon, successor           :
   trustee to JPMorgan Chase Bank, N.A., as         :
   trustee on behalf of the registered holders of   :
   Bear Stearns Asset Backed Securities 2006-
   SD3, Asset-Backed Certificates, Series 2006-
   SD3 c/o Select Portfolio Servicing, Inc.
                           Movant                   :
                  vs.                               :
   Nicholas C. Cosmo                                :
                           Debtor/Respondent        :
                  and                               :
   William C. Miller, Esquire                       :
                           Trustee/Respondent       :

     MOTION FOR RELIEF FROM AUTOMATIC STAY, UNDER 11 U.S.C. § 362

          Movant, by its Attorneys, Hladik, Onorato & Federman, LLP, hereby requests a
   Termination of the Automatic Stay and leave to proceed with its State Court rights
   provided under the terms of the Mortgage.

           1.      The Bank of New York Mellon, successor trustee to JPMorgan Chase
   Bank, N.A., as trustee on behalf of the registered holders of Bear Stearns Asset Backed
   Securities 2006-SD3, Asset-Backed Certificates, Series 2006-SD3 c/o Select Portfolio
   Servicing, Inc. (“Movant”).

          2.      Debtor, Nicholas C. Cosmo (“Debtor”) is the owner of the premises
   located at 1185 Jacksonville Road, Warminster, PA 18974 (the “property”).

          3.      William C. Miller, Esquire is the Trustee appointed by the Court.

         4.     Debtor filed a Petition for Relief under Chapter 13 of the Bankruptcy
   Code on January 10, 2018.

          5.     Movant is the holder of a mortgage lien on the Property in the original
   principal amount of $308,000.00, which was recorded on December 21, 2005 (the
   “Mortgage”). A true and correct copy of the Mortgage is attached hereto as Exhibit “A.”

           6.     The Mortgage was assigned to Movant by way of a series of written
   assignments of mortgage, the last of which was recorded on March 7, 2016. A true and
   correct copy of the assignment of mortgage is attached hereto as Exhibit “B.”
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          7.     As of 10/17/2018 the unpaid principal balance is $255,254.36.

          8.      As of 10/17/2018, Movant has not received the monthly post-petition
   Mortgage payments from July 01, 2018 through October 01, 2018 in the amount of
   $2,476.43 each, less suspense in the amount of $2,440.11, for a total post-petition
   arrearage of $7,465.61.

           9.     The entity that has the right to foreclose is The Bank of New York Mellon,
   successor trustee to JPMorgan Chase Bank, N.A., as trustee on behalf of the registered
   holders of Bear Stearns Asset Backed Securities 2006-SD3, Asset-Backed Certificates,
   Series 2006-SD3 c/o Select Portfolio Servicing, Inc. by virtue of being owner and holder
   of note.

          10.   Movant has cause to have the Automatic Stay terminated, in order to
   permit Movant to complete foreclosure on its Mortgage.

          11.    This Motion and the averments contained herein do not constitute a waiver
   by the Movant of its right to seek reimbursement of any amounts not included in this
   Motion, including fees and costs, due under the terms of the Mortgage and applicable
   law.

   WHEREFORE, Movant respectfully requests that this Court enter an Order:

          a.     Modifying the Automatic Stay under 11 U.S.C. § 362 of the Bankruptcy
          Code with respect to the Property as to permit Movant to foreclose on its
          Mortgage and allow Movant or any other purchaser at Sheriff’s Sale to take legal
          or consensual action for enforcement of its right to possession of, or title to; and

          b.     Granting any other relief that this Court deems equitable and just.


                                                    Respectfully Submitted,

   Date: 11/01/2018                                 /s/Danielle Boyle-Ebersole, Esquire
                                                    Danielle Boyle-Ebersole, Esquire
                                                    Hladik, Onorato & Federman, LLP
                                                    Attorney I.D. # 81747
                                                    298 Wissahickon Avenue
                                                    North Wales, PA 19454
                                                    Phone 215-855-9521
                                                    Fax 215-855-9121
                                                    debersole@hoflawgroup.com
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Bear Stearns Asset Backed Securities 2006-
SD3, Asset-Backed Certificates, Series 2006-
SD3 c/o Select Portfolio Servicing, Inc.
                        Movant                   :
               vs.                               :
Nicholas C. Cosmo                                :
                        Debtor/Respondent        :
               and                               :
William C. Miller, Esquire                       :
                        Trustee/Respondent       :

                      CERTIFICATION OF SERVICE OF MOTION,
                      RESPONSE DEADLINE AND HEARING DATE

            I, Danielle Boyle-Ebersole, attorney for Movant, The Bank of New York Mellon,
successor trustee to JPMorgan Chase Bank, N.A., as trustee on behalf of the registered holders of
Bear Stearns Asset Backed Securities 2006-SD3, Asset-Backed Certificates, Series 2006-SD3
c/o Select Portfolio Servicing, Inc., hereby certify that I served a true and correct copy of the
Motion for Relief from Automatic Stay and Notice of Motion, Response Deadline and Hearing
Date, by United States Mail, first class, postage prepaid, or Electronic Mail on 11/01/2018 upon
the following:

Brad J. Sadek, Esquire                      Nicholas C. Cosmo
Via ECF                                     1185 Jacksonville Road
Attorney for Debtor                         Warminster, PA 18974
                                            Via First Class Mail
William C. Miller, Esquire                  Debtor
Via ECF
Trustee

Dated: 11/01/2018                                /s/Danielle Boyle-Ebersole, Esquire
                                                 Danielle Boyle-Ebersole, Esquire
                                                 Hladik, Onorato & Federman, LLP
                                                 Attorney I.D. # 81747
                                                 298 Wissahickon Avenue
                                                 North Wales, PA 19454
                                                 Phone 215-855-9521
                                                 Fax 215-855-9121
                                                 debersole@hoflawgroup.com
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